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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   Case No.: 19-cv-14472-JEM

   DAN BONGINO,

         Plaintiff,

   vs.

   THE DAILY BEAST COMPANY, LLC,

     Defendant.
   ____________________________________/

                DEFENDANT THE DAILY BEAST COMPANY, LLC’S RESPONSE
                     TO PLAINTIFF’S OBJECTIONS TO REPORT AND
                   RECOMMENDATION AWARDING ATTORNEYS’ FEES

            Pursuant to Federal Rule of Civil Procedure 72(b)(2), Defendant The Daily Beast

  Company, LLC respectfully submits this response to Plaintiff Dan Bongino’s objection to the

  Magistrate Judge’s Report and Recommendation recommending that this Court grant The Daily

  Beast’s motion for attorneys’ fees.

                                               INTRODUCTION

            Plaintiff Dan Bongino’s objection raises just one issue: whether The Daily Beast is entitled

  to attorneys’ fees under the Florida anti-SLAPP law as the “prevailing party” in this case. But

  Bongino all but ignores the most important fact: this Court has already ruled that his meritless

  Complaint in this action violated the Florida anti-SLAPP law, and that “[t]he statute therefore

  entitles Defendant to recoup reasonable attorneys’ fees and costs.” ECF No. 23 (the “MTD

  Order”) at 14-15. In confirming that The Daily Beast is entitled to an award of attorneys’ fees

  under that statute, the Magistrate simply applied that decision.

            Instead of responding to the Magistrate’s analysis, Bongino’s objection does exactly what

  courts have found to be improper: he “rehash[es] the same arguments and positions taken in [his]
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  original papers submitted to the Magistrate Judge,” without addressing the Magistrate’s reasons

  for rejecting those arguments. See Rincon v. Miami-Dade Cty., 2020 WL 6536417, at *1 (S.D.

  Fla. Nov. 6, 2020). Indeed, much of his objection actually just seeks to re-litigate this Court’s

  prior decision on the motion to dismiss. Such a collateral attack is barred by the law-of-the-case

  doctrine, and in any event Bongino cannot come up with any reason to reconsider this Court’s

  earlier holdings. Bongino’s remaining objections boil down to the claim that The Daily Beast is

  no longer entitled to fees because, after this Court dismissed his Complaint, he himself “voluntarily

  dismissed” it. The Magistrate readily dismissed this obvious procedural gambit, correctly finding

  that it has no legal basis. Not only does a federal court clearly have the jurisdiction to award

  attorneys’ fees after a case is dismissed, but Florida courts recognize that a plaintiff’s voluntary

  dismissal affirmatively renders the defendant the prevailing party for purposes of attorneys’ fees.

         This Court should therefore adopt the Magistrate’s recommendation in full, and grant The

  Daily Beast attorneys’ fees in the amount of $31,835.

                                        FACTUAL BACKGROUND

         Bongino commenced this action on December 10, 2019, alleging that The Daily Beast had

  defamed him by publishing an article stating that NRATV had “dropped” his show as part of the

  NRA’s “downsizing its media operation.” ECF No. 1 (“Compl.”). Bongino brought claims against

  The Daily Beast for defamation, commercial disparagement, and violation of Florida’s Deceptive

  and Unfair Trade Practices Act (“FDUTPA”). Compl. ¶¶ 16, 22-39.

         A.      This Court dismisses the case and prospectively grants The Daily Beast’s fees
                 motion

         On January 31, 2020, The Daily Beast moved to dismiss the Complaint under Federal Rule

  of Civil Procedure 12(b)(6) and the Florida anti-SLAPP law. See ECF No. 16. On August 6, 2020,

  this Court granted The Daily Beast’s motion, ruling that all three of Bongino’s claims failed to



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  state a claim as a matter of law. Bongino’s defamation claim failed because he had not complied

  with a Florida statute requiring five days’ pre-suit notice and because The Daily Beast’s article

  was not defamatory, and his commercial disparagement and FDUTPA claims were barred by

  Florida’s single-action doctrine as derivative of his failed defamation claim. MTD Order at 4-13.

  Instead of dismissing the case outright, the Court gave Bongino “a final opportunity” to file an

  Amended Complaint addressing the deficiencies in his original pleading, noting that failure to do

  so would result in the closing of the case. Id. at 18.

         This Court went on to address the Florida anti-SLAPP law. It held that Bongino’s lawsuit

  violated the statute because it arose out of The Daily Beast’s news reporting and “was without

  merit,” which meant that “[t]he statute therefore entitles Defendant to recoup reasonable attorneys’

  fees.” Id. at 14-15. The Court rejected Bongino’s argument that the statute conflicts with the

  Federal Rules of Civil Procedure, concluding that because “Florida’s statute is a garden variety fee

  shifting provision,” it “does not ‘answer the same question’ as the Federal Rules.” Id. at 15-16.

  The Court therefore “prospectively granted” The Daily Beast’s motion to recover its attorneys’

  fees under Florida’s anti-SLAPP law “as to its applicability in this federal case and Defendant’s

  entitlement to such fees based on Plaintiff’s initial Complaint.” Id. at 18. The Court noted,

  however, that because it was “permitting Plaintiff one final opportunity to amend” his Complaint,

  it would “hold off on a final ruling on the matter,” and that “Defendant may file an appropriate

  motion pursuant to this Order at the close of the case.” Id.

         Instead of availing himself of that opportunity to amend, Bongino filed a Notice of

  Voluntary Dismissal four days later, purporting to “voluntarily” dismiss the case without

  prejudice—exactly what this Court had already ordered over his opposition. See ECF No. 24. The

  next day, the Court dismissed the case without prejudice and closed it. See ECF No. 25.




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         B.      The Magistrate Judge recommends granting The Daily Beast’s fees motion

         Having reached “the close of the case,” The Daily Beast then filed its fees motion pursuant

  to this Court’s direction in the MTD Order. In accordance with Local Rule 7.3(b)’s requirement

  that the parties “confer and attempt in good faith to agree on entitlement to and the amount of fees

  and expenses,” The Daily Beast served a copy of the motion on counsel for Bongino on September

  3, 2020. ECF No. 26-1 ¶ 20. Despite repeated requests from The Daily Beast, Bongino’s counsel

  never responded. See id. ¶¶ 20-22. Bongino also failed to serve any response “describ[ing] in

  writing and with reasonable particularity each time entry or nontaxable expense to which it objects,

  both as to issues of entitlement and as to amount, and…provid[ing] supporting legal authority” as

  that Local Rule also requires. The Daily Beast thereupon filed its fees motion on October 5, 2020.

         This Court referred the motion to Magistrate Judge Shaniek M. Maynard, ECF No. 28, and

  on February 9, 2021, Judge Maynard issued a Report and Recommendation recommending that

  The Daily Beast’s fees motion be granted in full. ECF No. 30 (“R&R”). Bongino’s principal

  contention before Judge Maynard was that his voluntary dismissal allowed him to escape having

  to pay The Daily Beast’s attorneys’ fees – either because it divested the Court of subject-matter

  jurisdiction, or because it meant The Daily Beast was not a “prevailing party.” See ECF No. 27 at

  1-4. The Magistrate squarely rejected this contention, holding that a district court has jurisdiction

  to award attorneys’ fees after a case has been voluntarily dismissed, R&R at 4-6, and that The

  Daily Beast was the prevailing party under the anti-SLAPP law both because “the law is clear that

  ‘when a plaintiff voluntarily dismisses an action, the defendant is the prevailing party,’” and

  because “regardless of Plaintiff’s dismissal, Judge Martinez adjudicated the merits of Plaintiff’s

  anti-SLAPP claim before Plaintiff filed his dismissal notice.” R&R at 7-8 (citation omitted).




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         The Magistrate went on to hold that the $31,835 in fees sought by The Daily Beast was

  reasonable. Not only did the amount of time spent on the case reflect the complexity of the motion

  to dismiss, but counsel’s discounted hourly rates were reasonable in light of “the reputation of

  defense counsel, the depth of their specialized experience, and the rates awarded to comparable

  attorneys in similar cases in South Florida.” R&R at 10-11.

         On February 23 2021, Bongino filed an objection to the Magistrate’s Report and

  Recommendation.

                                                ARGUMENT

         This Court set out the legal standard for awarding fees under the anti-SLAPP law in its

  MTD Order. “Florida’s anti-SLAPP law prohibits a person from filing a cause of action that is

  (a) ‘without merit’ and (b) ‘primarily’ because the person against whom the suit was filed

  exercised the constitutional right of free speech in connection with a public issue.” MTD Order

  at 14 (citing Fla. Stat. § 768.295(3)).1 The statute provides that a “court shall award the

  prevailing party reasonable attorney fees and costs incurred in connection with a claim that an

  action was filed in violation of this section.” Fla. Stat. § 768.295(4). When a plaintiff violates

  the statute, “an award of reasonable attorneys’ fees and costs is mandatory.” Vibe Ener v.

  Duckenfield, 2020 WL 6373419, at *5 (S.D. Fla. Sept. 29, 2020), appeal docketed, No. 20-14036

  (11th Cir. filed Oct. 28, 2020). Bongino’s objection does not dispute that his lawsuit arose

  primarily out of The Daily Beast’s protected speech in connection with a public issue, or that

  fee-shifting is a mandatory consequence of violating the statute. The only question raised by his




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   The latter requirement “includes any written statement protected under applicable law and
  made in connection with a news report.” MTD Order at 14 (citing Fla. Stat. § 768.295(2)(a)).


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  objection is whether The Daily Beast has prevailed in establishing that his lawsuit was “without

  merit” under the statute.

         A.      Standard of review

         Without citing any authority, Bongino asserts in passing that this Court should review the

  R&R de novo. Obj. at 6. But the de novo standard only applies if the objecting party “pinpoint[s]

  the specific findings that the party disagrees with.” United States v. Bain, 2021 WL 274452, at *1

  (S.D. Fla. Jan. 27, 2021) (citation omitted). Where objections “simply rehash or reiterate the

  original briefs to the magistrate judge,” they are reviewed only for clear error. Prather v. NCL

  (Bahamas) Ltd., 2020 WL 4381412, at *2 (S.D. Fla. July 31, 2020). Bongino’s objection here

  falls far short of “pinpoint[ing] the specific findings that [he] disagrees with” in the R&R. It just

  repeats the arguments Bongino made to the Magistrate, without mentioning – much less

  responding to – the Magistrate’s reasons for rejecting those arguments. The clear error standard

  therefore applies.

         Ultimately, however, the standard of review makes no difference here. The Magistrate’s

  well-reasoned recommendation is plainly correct and should be adopted under either standard.

         B.      Bongino may not re-litigate the MTD Order

         Three of Bongino’s objections seek to re-litigate issues this Court squarely decided more

  than six months ago in the MTD Order: whether the Daily Beast article at issue in this case is

  defamatory, whether Florida law applies to this case, and whether the Florida anti-SLAPP law

  applies in federal court.

         Bongino’s belated challenges to the MTD Order are barred by the law-of-the-case doctrine,

  which provides that “a legal decision made at one stage of the litigation, unchallenged in a

  subsequent appeal when the opportunity existed, becomes the law of the case for future stages of




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  the same litigation, and the parties are deemed to have waived the right to challenge that decision

  at a later time.” United States v. Escobar-Urrego, 110 F.3d 1556, 1561 (11th Cir. 1997) (citation

  omitted). If Bongino disagreed with the MTD Order, he had every right to wait for the Court to

  enter final judgment and then appeal. See MTD Order at 18 (“Failure to amend by August 20,

  2020 shall result in the closing of this case.”). But he chose to dismiss his case instead. He may

  not now use The Daily Beast’s fees motion to launch a collateral attack against the MTD Order.

          Even if Bongino were not barred from seeking reconsideration of the MTD Order,

  however, there is no basis for deviating from the Court’s prior holdings. Those holdings were

  correct last August, and they remain so today.

          1)      Bongino’s action lacked merit. Bongino argues that this Court “erred in finding [in

  the MTD Order] that the Article is not capable of a defamatory meaning.” Obj. at 1. But the cases

  he cites do not support that at all. Two of them actually confirm that this Court’s holding that the

  article at issue did not defame Bongino, MTD Order at 9, was correct. See Hallett v. Stuart Dean

  Co., --- F. Supp. 3d ----, 2021 WL 405831, at *15-16 (S.D.N.Y. Feb. 5, 2021) (letter stating that

  plaintiff “will step down from his position effective immediately” was not defamatory); Santagata

  v. Miniluxe, Inc., 2020 WL 2322851, at *6 (D.R.I. May 11, 2020) (statement that plaintiff “no

  longer worked for the company” was not defamatory). In Bongino’s third case, the defendant had

  claimed that the plaintiff was fired for cause and might sabotage her new employer’s products.

  Meredith v. Nestle Purina Petcare Co., 2021 WL 357366 (E.D. Va. Feb. 2, 2021). That is a far

  cry from the facts of this case, where the Court found – and Bongino’s objection does not contest

  – that “even a cursory review reveals that nowhere in the article does it state that Plaintiff was fired

  – much less that he was fired for cause.” MTD Order at 8. Bongino’s lawsuit therefore “was

  without merit under Florida Statute § 768.295(3),” MTD Order at 14, and thus the Magistrate’s




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  conclusion that he violated the anti-SLAPP law was correct.

         2)      Florida law applies. In a transparent attempt to escape the application of the anti-

  SLAPP law, Bongino argues that this case is actually governed by New York law. Obj. at 3-4.

  The Magistrate had no difficulty rejecting this argument, correctly holding that Bongino had

  waived any choice of law argument. R&R at 6 n.5. Bongino himself repeatedly chose to invoke

  Florida law – when he filed this lawsuit in Florida, purported to serve pre-suit notice under Florida

  law, and repeatedly relied on Florida law both in his Complaint (which included a claim under the

  Florida Deceptive and Unfair Trade Practices Act) and in opposition to The Daily Beast’s motion

  to dismiss. See, e.g., ECF No. 1 ¶¶ 10-11, 20, 33, 36-39; ECF No. 19 at 3-10; see, e.g., Sun Life

  Assurance Co. of Canada v. Imperial Premium Fin., LLC, 904 F.3d 1197, 1208 (11th Cir. 2018)

  (“Under our precedents, a party waives its opportunity to rely on non-forum law where it fails to

  timely provide – typically in its complaint or the first motion or response when choice-of-law

  matters – the sources of non-forum law on which it seeks to rely.”). Bongino’s objection ignores

  the Magistrate’s waiver holding entirely, and just rehashes the argument he made below. It should

  be rejected for the same reasons.

         3)      The Florida anti-SLAPP law applies in federal court. Bongino also seeks to revive

  his argument that the Florida anti-SLAPP law’s fee-shifting provision conflicts with the Federal

  Rules of Civil Procedure. Obj. at 4-5. This is another issue the Court addressed at length in the

  MTD Order. MTD Order at 15-16. Just last month, another court in this District reached the same

  conclusion, with Judge Ruiz echoing this Court’s holding that the anti-SLAPP law is a “a garden

  variety fee shifting provision” that applies in federal court. Corsi v. Newsmax Media, Inc., --- F.

  Supp. 3d ----, 2021 WL 626855, at *12 (S.D. Fla. Feb. 12, 2021) (citing MTD Order at 16), appeal

  docketed, No. 21-10480 (11th Cir. Feb. 16, 2021).




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          Bongino’s objection says nothing about Judge Ruiz’s decision, but cites Nunes v. Lizza,

  476 F. Supp. 3d 824 (N.D. Iowa Aug. 5, 2020), appeal docketed, No. 20-2710 (8th Cir. Aug. 17,

  2020), a case holding that the California anti-SLAPP law does not apply in federal court. As the

  Magistrate pointed out in dismissing Bongino’s reliance on Lizza, “California’s statute differs from

  Florida’s, however, and Judge Martinez considered both statutes in his analysis.” R&R at 7; see

  MTD Order at 15 (holding that certain anti-SLAPP laws including California’s “conflict with the

  Federal Rules of Civil Procedure because they raise the bar for a plaintiff to overcome a pretrial

  dismissal motion. . . . Not so for Florida’s anti-SLAPP statute.”) (internal citations omitted).

  Bongino offers no response to this.2

          C.      Bongino’s voluntary dismissal does not exempt him from the anti-SLAPP law

          Bongino’s remaining objections argue that his voluntary dismissal of following the MTD

  Order somehow allows him to escape the anti-SLAPP law’s fee-shifting rules. As the Magistrate

  correctly recognized, this argument defies both settled law and common sense.

          1)      This Court has subject-matter jurisdiction. Bongino first claims that the “R&R

  incorrectly finds that the Court has judicial power under Article III, § 2 of the United States

  Constitution to consider Defendant’s motion.” Obj. at 2. As he did before the Magistrate, Bongino



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    Bongino also claims that the Florida anti-SLAPP law must not apply in federal court because it
  does not explicitly “purport[] to make attorney’s fees available to parties who obtain dismissal
  pursuant to the Federal Rules of Civil Procedure.” Obj. at 5. But it is hard to imagine a state law
  that would satisfy this test, and the Eleventh Circuit has never suggested that a state fee-shifting
  statute must specifically refer to the Federal Rules of Civil Procedure if it is to apply in federal
  court – in fact, it has often applied state attorneys’ fees statutes that, not surprisingly, do not refer
  to the Federal Rules. See, e.g., Horowitch v. Diamond Aircraft Indus., Inc., 645 F.3d 1254, 1259
  (11th Cir. 2011); All Underwriters v. Weisberg, 222 F.3d 1309, 1311-12 (11th Cir. 2001). As
  this Court previously observed, what matters is that the Florida anti-SLAPP law does not tie fee-
  shifting to any particular procedure for dismissal in either the state or federal rules, which allows
  it to “fuse[] with Rules 8, 12, and 56 by entitling the prevailing party to fees and costs if, after
  invoking the devices set forth by those rules, a court finds an action is ‘without merit’ and thus
  prohibited.” MTD Order at 16; accord Corsi, 2021 WL 626855, at *12.


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   argues that his mere filing of a notice of voluntary dismissal “divested” the Court of jurisdiction

   over attorneys’ fees. Obj. at 3. Bongino simply has the law wrong: in fact, it is clear that “a federal

   court retains jurisdiction over collateral issues – including motions for attorney’s fees – after a

   complaint is dismissed.” First Time Videos, LLC v. Oppold, 559 F. App’x 931, 932 (11th Cir.

   2014); see also, e.g., Mathews v. Crosby, 480 F.3d 1265, 1276 (11th Cir. 2007) (“[V]oluntary

   dismissal without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(i) does not deprive a district court

   of authority to award costs”); M&L Rest. Grp., LLC v. Atif Hosp. Concepts, LLC, 2018 WL

   4608256, at *4 (M.D. Fla. Apr. 12, 2018) (“Thus, ‘after a voluntary dismissal by [the] plaintiff the

   trial court does have jurisdiction to award attorney’s fees where the fees are authorized by statute

   or a contract between the parties.’”) (citation omitted). The Magistrate recognized this, and cited

   several cases in which courts in this Circuit have awarded attorneys’ fees following voluntary

   dismissals. R&R at 4-6.

          Bongino makes no effort to respond to this authority, and fails to cite a single case in which

   a court, after a voluntary dismissal, has declined to award fees for lack of subject-matter

   jurisdiction. He instead relies on the same case he cited before the Magistrate, American Cyanamid

   Co. v. McGhee, 317 F.2d 295 (5th Cir. 1963). The Magistrate observed that McGhee “is not

   instructive on the issue at hand” in light of subsequent caselaw and because that case “did not

   involve a court’s subject matter jurisdiction over a motion filed after a voluntary dismissal, let

   alone a motion for attorneys’ fees. Instead, McGhee considered whether a voluntary dismissal by

   court order entered under Federal Rule of Civil Procedure 41(a)(2) counts against the limit on

   voluntary dismissals included in Rule 41(a)(1).” R&R at 5-6. Bongino ignores the Magistrate’s




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   distinguishing analysis in his objection.3

          Bongino also suggests that the Court has no jurisdiction over the fees motion because this

   Court’s final order of dismissal supposedly “denied Defendants’ motion as moot.” Obj. at 2-3.

   That too is incorrect: the dismissal order denied “[a]ll pending motions in this case” as moot, ECF

   No. 25 (emphasis added), but this motion was not pending at the time. It was not filed until several

   weeks later, as required by the Local Rules.

          2)      The Daily Beast is the prevailing party in this case. Bongino argues that his

   voluntary dismissal of this case means that The Daily Beast is not the prevailing party under the

   anti-SLAPP law. Obj. at 5-6. This is wrong for two independent reasons.

          The first reason is that Bongino’s voluntary dismissal came after this Court had already

   dismissed his Complaint on the merits and expressly found it to violate the anti-SLAPP law. See

   MTD Order at 14. As the Eleventh Circuit has recognized, dismissal for failure to state a claim

   leaves the defendant the prevailing party for fees purposes, regardless of whether the court gives

   the plaintiff an opportunity to replead.       Dependable Component Supply, Inc. v. Carrefour

   Informatique Tremblant, Inc., 572 F. App’x 796, 801-02 & n.6 (11th Cir. 2014). Even if,

   hypothetically, Bongino had successfully attempted to amend his Complaint to state a claim, that

   would not have changed the fact that he violated the anti-SLAPP law by filing his original meritless

   Complaint. Here, of course, Bongino did not even try, effectively conceding that the defects in his

   Complaint could not be cured.




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    Bongino also relies on language from another older Fifth Circuit case to the effect that “a
   plaintiff has an absolute right to dismiss a lawsuit before the defendant has filed an answer or
   summary judgment motion.” Obj. at 3 (citing Carter v. United States, 547 F.2d 258, 259 (5th
   Cir. 1977). But the issue here is not whether Bongino had a right to dismiss the case – he did
   dismiss it. Carter does not suggest he is immune from the consequences of doing so after
   bringing a meritless lawsuit.


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          But even if this Court had not reached the merits of the case, The Daily Beast would still

   be the prevailing party because “Florida courts hold that when a plaintiff files a voluntary

   dismissal, the defendant becomes the prevailing party for purposes of entitlement to attorneys’

   fees” – a rule which applies to Rule 41 voluntary dismissals in diversity cases like this one. Shave

   v. Stanford Fin. Grp., Inc., 2008 WL 3200705, at *1 (S.D. Fla. Aug. 6, 2008) (citing Thornber v.

   City of Ft. Walton Beach, 568 So. 2d 914, 919 (Fla. 1990)) (awarding defendant attorneys’ fees

   following plaintiff’s voluntary dismissal); accord Bahrakis v. Zimmerman, 2020 WL 4734929, at

   *2 (M.D. Fla. Aug. 14, 2020) (same); Shelton v. Schar, 2018 WL 3636698, at *2 (M.D. Fla. Apr.

   23, 2018) (same); M&L Rest. Grp., 2018 WL 4608256, at *4 (same); Stile v. Albanese-Popkin The

   Oaks Dev. Grp., L.P., 2011 WL 13272532, at *1 (S.D. Fla. Mar. 31, 2011) (same); Nukote Int’l,

   Inc. v. Office Depot, Inc., 2010 WL 4942838, at *2 (S.D. Fla. Nov. 30, 2010) (same); Herbst v. N.

   Ocean Condos, L.P., 2009 WL 2257827, at *1 (S.D. Fla. July 29, 2009) (same).

          This principle is particularly significant in the context of the anti-SLAPP law, because

   permitting Bongino to circumvent its fee-shifting rules through procedural gamesmanship would

   undermine what this Court has called the statute’s “fundamental state policy” of “deterring SLAPP

   suits.” MTD Order at 16. Bongino’s interpretation would render the fee-shifting provision all but

   meaningless by allowing “SLAPP plaintiffs [to] achieve most of their objective with little risk –

   by filing a SLAPP suit, forcing the defendant to incur the effort and expense of preparing a

   [motion], then dismissing the action without prejudice.” Gottesman v. Santana, 263 F. Supp. 3d

   1034, 1040-41 (S.D. Cal. 2017) (holding that plaintiff who voluntarily dismissed case was liable

   for fees under California anti-SLAPP law) (citation omitted).

          The Magistrate recognized both of these independent grounds, holding that The Daily

   Beast was the prevailing party both because “regardless of Plaintiff’s dismissal, Judge Martinez




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   adjudicated the merits of [The Daily Beast’s] anti-SLAPP claim before Plaintiff filed his dismissal

   notice,” and because “the law is clear that ‘when a plaintiff voluntarily dismisses an action, the

   defendant is the prevailing party.’” R&R at 7-8 (citation omitted). Instead of addressing either

   point in his objection, Bongino invokes supposed conditions – like the claim that “[t]he ultimate

   success of Defendant’s anti-SLAPP motion was dependent on the Court ruling that an amended

   complaint failed to state a claim,” Obj. at 5 – that he has made out of whole cloth. All the anti-

   SLAPP law requires is that The Daily Beast has “prevailed” on its “claim that an action was filed

   in violation of this section.” Fla. Stat. § 768.295(4). As this Court recognized in the MTD Order,

   that requirement is satisfied here. MTD Order at 14-15. The Daily Beast is therefore entitled to

   reasonable attorneys’ fees.

          D.      The amount of fees awarded by the Magistrate is reasonable

          Finally, the Magistrate’s fee award of $31,835, reflecting the full amount sought by The

   Daily Beast, was reasonable and should be adopted as well. As an initial matter, Bongino has

   repeatedly waived any objection to the amount of fees sought by The Daily Beast and awarded by

   the Magistrate – by refusing to participate in the conferral process mandated by Local Rule 7.3, by

   not disputing the amount sought by The Daily Beast before the Magistrate, and then again by not

   challenging the Magistrate’s award in his objection to this Court. See, e.g., Club Madonna, Inc. v.

   City of Miami Beach, 2015 WL 5559894, at *9 (S.D. Fla. Sept. 22, 2015) (“The Court is not so

   lenient when a party flippantly disregards the Local Rules – especially rules that are designed to

   conserve the Court’s resources – and finds that Plaintiffs waived their objections to the City’s fee

   request as to Count II by failing to comply with Local Rule 7.3(b).”); Starks v. United States, 2010

   WL 4192875, at *3 (S.D. Fla. 2010) (“Arguments that are not raised before a magistrate judge

   cannot be raised for the first time as an objection to a report and recommendation.”); Vavrus v.




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   Russo, 243 F. App’x 561, 564 (11th Cir. 2007) (affirming amount of fees awarded by lower court

   because opposing party did not challenge it). That alone is reason enough to adopt this aspect of

   the Magistrate’s decision.

          In any event, the Magistrate correctly found that The Daily Beast’s fees request – reflecting

   a total of 91.9 hours work at a rate of $450/hour for Davis Wright Tremaine LLP (“DWT”) partner

   Kate Bolger and $350/hour for DWT senior associate Adam Lazier4 – was reasonable. Courts in

   the Eleventh Circuit use the “lodestar method” to a calculate a reasonable attorney’s fee, under

   which a court “multipl[ies] the number of hours reasonably expended by a reasonable hourly rate.”

   Loranger v. Stierheim, 10 F.3d 776, 781 (11th Cir. 1994). As the Magistrate noted, The Daily

   Beast excluded from its fees request work that was unrelated to the motion to dismiss as well as

   all costs, and provided the court with detailed billing records documenting its request. R&R at 10-

   12; ECF No. 26-1 ¶¶ 14-15; ECF No. 26-5. Its experienced counsel – both of whom specialize in

   media and defamation law – also heavily discounted their standard hourly rates for this matter.

   R&R at 10; ECF No. 26-1 ¶¶ 5, 6, and 9. Counsel’s hourly rates as well as the total amount of

   fees sought are both consistent with – if not below – what other courts have held to be reasonable

   in cases like this one. See R&R at 11 (citing cases). In fact, the amount sought here pales in

   comparison to the award of nearly $140,000 under the anti-SLAPP law recently affirmed by the

   Eleventh Circuit, following dismissal of a defamation case on a motion to dismiss. See Parekh v.



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     In total, The Daily Beast seeks reimbursement for 15.9 hours billed by DWT partner Kate
   Bolger, who has more than twenty years of media law litigation experience, at a rate of $450 per
   hour (discounted from her standard rates of $710 in 2019 and $755 in 2020); 66.4 hours billed by
   DWT senior associate Adam Lazier, who has nine years of media law litigation experience, at a
   rate of $350 per hour (discounted from his standard rate of $595 per hour); 9 hours billed by
   paralegal Marni Shapiro at a rate of $150 per hour (discounted from her standard rates of $380 in
   2019 and $400 in 2020); and 0.6 hours billed by senior managing clerk Trevor Franklin at a rate
   of $150 per hour (discounted from his standard rates of $320 in 2019 and $340 in 2020). See
   ECF No. 26-1 ¶¶ 5, 6, 9, 10, 14.


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   CBS Corp., 820 F. App’x 827 (11th Cir. 2020), aff’g, 2019 WL 2230075 (M.D. Fla. Feb. 13, 2019);

   see also, e.g., CBS Broad., Inc. v. Browning, 2007 WL 2850527, at *6-11 (S.D. Fla. Sept. 21,

   2007) (awarding successful plaintiff a total of $171,750.50 in attorneys’ fees for First Amendment

   litigation, and finding that hourly rates of $550 for partner and $375 for senior associate were

   reasonable); Domond v. PeopleNetwork APS, 750 F. App’x 844, 848 (11th Cir. 2018) (affirming

   district court’s finding in trademark case that attorneys’ hourly rates of $650 and $425 were

   reasonable).5

          On this issue as well, the Magistrate’s recommendation should therefore be adopted.

                                               CONCLUSION

          For the foregoing reasons, The Daily Beast respectfully requests that this Court adopt

   Magistrate Judge Maynard’s report and recommendation in full.

   Dated: March 9, 2021


                                                         Respectfully submitted,

                                                         /s/ Roy Black
                                                         Roy Black
                                                         Jared Lopez
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                                                         Katherine M. Bolger (pro hac vice)
                                                         Adam Lazier (pro hac vice)
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   5
     A prominent legal blog reporting on the R&R termed the requested fee award of $31,835 “a
   ridiculously low figure for 91 hours of work from Davis Wright Tremaine LLP.” See Elizabeth
   Dye, Federal Court Confirms That Dan Bongino Is A Total Loser, Orders Fees In Daily Beast
   SLAPP Suit, Above the Law (Feb. 9, 2021), available at
   https://abovethelaw.com/2021/02/federal-court-confirms-that-dan-bongino-is-a-total-loser-
   orders-fees-in-daily-beast-slapp-suit/.


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                                   CERTIFICATE OF SERVICE

   I certify that on March 9, 2021, a true and correct copy of the foregoing was served via electronic

   mail on all counsel of record, upon the filing of the foregoing with the Court’s ECF system.



                                                               /s/ Jared Lopez
                                                               Jared Lopez




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